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               6 Attorneys for Plaintiffs
                 NANO FOUNDATION, LTD. and
               7 COLIN LeMahieu
               8                     UNITED STATES DISTRICT COURT
               9                   CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 DDP (PJWx)
                 York non-profit corporation; and      )
              12 COLIN   LeMAHIEU,     an  individual, ) DECLARATION OF RYAN M.
                                                       ) LAPINE IN SUPPORT OF
              13             Plaintiffs,               ) PLAINTIFFS NANO
                                                       ) FOUNDATION, LTD. AND COLIN
              14       vs.                             ) LEMAHIEU'S OPPOSITION TO
                                                       ) DEFENDANT DAVID C. SILVER'S
              15 DAVID   C. SILVER,    an individual,  ) MOTION TO DISMISS
                                                       ) COMPLAINT
              16             Defendant.                )
                                                       ) Date: August 5, 2019
              17                                       ) Time: 1:30 p.m.
                                                       ) Judge: Hon. Stephen V. Wilson
              18                                       ) Ctrm: 10A - 10th Floor
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LAW OFFICES
ROSENFELD,                                               1
 MEYER &                       DECLARATION OF RYAN M. LAPINE IN SUPPORT OF PLAINTIFFS'
SUSMAN LLP
                   520493.01   OPPOSITION TO DEFENDANT'S MOTION TO DISMISS COMPLAINT
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               1                           DECLARATION OF RYAN M. LAPINE
               2               I, RYAN M. LAPINE, declare as follows:
               3               1.   I am an attorney duly admitted to practice before this Court and, a
               4 partner at Rosenfeld, Meyer & Susman LLP, am lead counsel of record in this
               5 matter for Plaintiffs Nano Foundation, Ltd. And Colin LeMahieu ("Plaintiffs"). I
               6 have personal knowledge of the facts set forth in this Declaration and, if called as a
               7 witness, could and would testify competently to such facts under oath. I make this
               8 Declaration in support of Plaintiffs' Opposition To Defendant David C. Silver's
               9 Motion To Dismiss Complaint.
              10               2.   I met and conferred with Jason Seibert, Silver's out of state counsel,
              11 regarding this motion. Among other matters, during that call, he informed me that
              12 he is "retired", he "does not really practice law anymore", but he informed me that
              13 he was handling this matter because he is friends with Silver.
              14               3.   After an initial call, I had a second call with Mr. Seibert in which we
              15 discussed the Settlement Agreement from the Brola litigation at length. My summer
              16 associate Wajeeh Mahmood listened in on that call, which Mr. Seibert informed me
              17 was acceptable.
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              23                                                                     .
              24               4.

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              26                                                                         He responded that
              27 he "likes to keep things loose" when meeting and conferring and that he would be
              28 filing the Motion on Monday. I asked him if he had already drafted the Motion and
LAW OFFICES
ROSENFELD,                                                       2
 MEYER &                              DECLARATION OF RYAN M. LAPINE IN SUPPORT OF PLAINTIFFS'
SUSMAN LLP
                   520493.01          OPPOSITION TO DEFENDANT'S MOTION TO DISMISS COMPLAINT
Case 2:19-cv-04237-SVW-PJW Document 22-1 Filed 07/15/19 Page 3 of 3 Page ID #:736
